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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION
                                      (at Lexington)

  CHRISTINA M. YEOMAN,                              )
                                                    )
          Plaintiff,                                )      Civil Action No. 5:17-CV-435-CHB
                                                    )
  v.                                                )
                                                    )
  WELTMAN, WEINBERG & REIS, CO.,                    )     AGREED ORDER OF DISMISSAL
  PSC, et al.,                                      )
                                                    )
          Defendants.
                                      ***    ***   ***    ***
       This matter having come before the Court upon the Motion to Dismiss filed by Defendant

Linda Smitha [R. 38], in her official capacity as Director of Student Account Services, and the

Court being sufficiently advised, it is hereby ordered that the Motion be granted and that all claims

against Linda Smitha, in her official capacity as Director of Student Account Services, in this

matter be dismissed, with prejudice, each party to bear its own costs and fees. This Order disposes

of all remaining claims in this action and the case shall be stricken from the Court’s active docket.

       This the 11th day of July, 2018.




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